    Case 1:22-cr-00397-RBK Document 1 Filed 06/08/22 Page 1 of 12 PageID: 1
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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY



 UNITED STATES OF AMERICA                   :     Hon.
                                            :
                                            :     Crim. No. 22-397 (RBK)
  v.                                        :
                                            :     7 U.S.C. § 136j
                                            :     18 U.S.C. § 1343
 PAUL ANDRECOLA                             :     18 U.S.C. § 287
                                                  18 U.S.C. § 2


                                 INFORMATION

        The defendant having waived in open court prosecution by Indictment,

the United States Attorney for the District of New Jersey and the Assistant

Attorney General for the Environment and Natural Resources Division of the

United States Department of Justice charge:

        1.       At all times relevant to this Information, unless otherwise

indicated:

                      Background and Relevant Parties and Entities

                 a.     Company-1 was a chemical formulation and manufacturing

company co-owned and operated by the defendant Paul Andrecola

(“ANDRECOLA”).

                 b.     Company-2 was a company that produced lubricants and

cleaning products. ANDRECOLA was the chief director of research and

development and formulations for Company-2.

                 c.     Company-3 was a company that sold sanitizers and

disinfectants. Company-3 also sold a disinfectant called GCLEAN GC200.
   Case 1:22-cr-00397-RBK Document 1 Filed 06/08/22 Page 2 of 12 PageID: 2



            d.     Company-1, Company-2, and Company 3 (the “Companies”)

were all located in, and operated out of, Mount Laurel, New Jersey.

            e.     ANDRECOLA, on behalf of the Companies, sold sanitizer and

wipe pesticide products in the names GCLEAN and/or GC200, which were not

registered by the U.S. Environmental Protection Agency (“EPA”) in accordance

with the Federal Insecticide, Fungicide and Rodenticide Act.

    The Federal Insecticide, Fungicide and Rodenticide Act (“FIFRA”)

            f.     FIFRA regulated the production, sale, distribution, and use

of pesticides in the United States. A “pesticide” was any substance or mixture

of substances intended for preventing, destroying, repelling, or mitigating any

pest. 7 U.S.C. § 136(u); 40 C.F.R. § 152.3. The term “pest” was broadly

defined to include, among other things, viruses, bacteria, or other micro-

organisms. 7 U.S.C. § 136(t).

            g.     FIFRA required all pesticides to be registered with the EPA

before they could be sold or distributed. 7 U.S.C. § 136a(a). The registration

process was detailed, and applicants were required to submit a substantial

amount of information to the EPA in support of a request for registration.

Items of information that must be submitted in support of an application to

register a pesticide included the complete formula of each pesticide for which

registration was sought, including the identity of its active and inert

ingredients; all proposed labeling for the pesticide; and a statement of all

pesticidal claims to be made for the pesticide. 7 U.S.C. § 136a(c); 40 C.F.R. §

158.155.



                                         2
   Case 1:22-cr-00397-RBK Document 1 Filed 06/08/22 Page 3 of 12 PageID: 3



            h.     Registered pesticides were given a product-registration

number beginning with the phrase “EPA Reg. No.” Pesticide-producing

establishments also received an establishment-registration number designated

by the phrase “EPA Est.” 40 C.F.R. § 156.10(e) and 156.10(f). As a condition

of registration, all registered pesticides were required to have a label bearing

both the product registration and establishment numbers. 40 C.F.R. §

156.10(a) and 156.10(e). Proposed labels were required to be submitted to the

EPA along with the application for registration. 40 C.F.R. § 152.50(e).

            i.     Antimicrobial pesticides were subject to specific

antimicrobial pesticide data requirements to be registered by the EPA. 40

C.F.R. Part 158, Subpart W. All antimicrobial pesticide applicants for

registration must have ensured through testing that their product was effective

when used in accordance with label directions and commonly accepted pest

control practices. 40 C.F.R. § 158.2220(a)(1). An antimicrobial pesticide that

made “public health claims” must have been supported by additional product

performance data required by the EPA as part of the application for

registration. 40 C.F.R. § 158.2220(a)(2). An antimicrobial pesticide product

was considered to make a “public health claim” if the product bore a claim to

control pest microorganisms that posed a threat to human health, and whose

presence could not be readily observed by the user. 40 C.F.R. § 158.2204(a).

            j.     The EPA had published for the public a list of EPA-registered

products that it deemed to be effective against SARS-CoV-2, titled “List N:

Disinfectants for Use Against SARS-CoV-2.” However, even if a disinfectant

had been added to List N, its registrant could not make claims on the

                                         3
   Case 1:22-cr-00397-RBK Document 1 Filed 06/08/22 Page 4 of 12 PageID: 4



disinfectant’s label that it was effective against SARS-CoV-2, unless approved

by EPA. The only claims that could be made were that the product had

demonstrated effectiveness against viruses similar to SARS-CoV-2; that

COVID-19 was caused by SARS-CoV-2; and that the product killed similar

viruses and therefore could be used against SARS-CoV-2 when used in

accordance with the directions for use.

            k.     It was unlawful for any person in any state to distribute or

sell to any other person a pesticide that had not been registered with the EPA

under FIFRA. 7 U.S.C. § 136j(a)(1)(A). FIFRA defined “distribute or sell” to

include not only actual sale or distribution of a pesticide, but also the act of

offering a pesticide for sale. 7 U.S.C. § 136(gg); 40 C.F.R. § 152.3.




                                          4
   Case 1:22-cr-00397-RBK Document 1 Filed 06/08/22 Page 5 of 12 PageID: 5



                                    COUNT ONE
                        (Sale of an Unregistered Pesticide)

        2.    The allegations in paragraph 1 of this Information are re-alleged

here.

        3.    From at least as early as in or around March 2020 through on or

about May 2021, in Burlington County, in the District of New Jersey and

elsewhere, the defendant,

                                PAUL ANDRECOLA,

knowingly distributed and sold to another person a pesticide, namely, sanitizer

and wipe disinfectant products in the names GCLEAN and GC200, that was

not registered by the United States Environmental Protection Agency, as

required by Title 7, United States Code, Section 136(a).

        In violation of Title 7, United States Code, Sections 136j(a)(l)(A) and

Section 136l(b)(l)(B), and Title 18, United States Code, Section 2.




                                           5
   Case 1:22-cr-00397-RBK Document 1 Filed 06/08/22 Page 6 of 12 PageID: 6



                                   COUNT TWO
                                   (Wire Fraud)

        4.   The allegations in paragraph 1 of this Information are re-alleged

here.

                     The Scheme and Artifice to Defraud

        5.   From at least as early as in or around March 2020 through in or

about May 2021, in Burlington County, in the District of New Jersey and

elsewhere, the defendant,

                                 PAUL ANDRECOLA,

did knowingly and intentionally devise and intend to devise a scheme and

artifice to defraud numerous victims, and to obtain money and property from

these victims, by means of materially false and fraudulent pretenses,

representations, and promises, and, for the purpose of executing and

attempting to execute such scheme and artifice to defraud, did transmit and

cause to be transmitted by means of wire communications in interstate and

foreign commerce, certain writings, signs, signals, pictures, and sounds,

including a wire communication from inside New Jersey to outside New Jersey,

as more fully set forth below.

                      The Goal of the Scheme to Defraud

        6.   The goal of the scheme and artifice to defraud was for defendant

ANDRECOLA to enrich himself by fraudulently selling various unregistered

pesticides, namely disinfectant products including sanitizers and wipes in the

names GCLEAN and/or GC200, to numerous victims, under false pretenses,

based on ANDRECOLA’S false representations that these products were EPA-

                                        6
   Case 1:22-cr-00397-RBK Document 1 Filed 06/08/22 Page 7 of 12 PageID: 7



registered pesticide products on EPA’s “List N: Disinfectants for Use Against

SARS-CoV-2” that EPA deemed to be effective against SARS-CoV-2.

                 Manner and Means of the Scheme to Defraud

      7.     It was part of the scheme and artifice to defraud that:

           a. Throughout the scheme, ANDRECOLA falsified, or caused to be

falsified, various EPA-produced documents to falsely represent that various

sanitizer and wipe products in the names GCLEAN and/or GC200 were EPA-

registered products that appeared on EPA’s “List N: Disinfectants for Use

Against SARS-CoV-2.”

           b. It was further part of the scheme that ANDRECOLA, or others at

his behest, would send emails to potential customers of these products,

informing them that these products were EPA-registered pesticide products,

which were on EPA’s “List N: Disinfectants for Use Against SARS-CoV-2,” and

were effective in killing SARS-CoV-2.

           c. It was further part of the scheme that ANDRECOLA, or others at

his behest, would provide this falsified documentation to potential customers,

falsely representing that various sanitizer and wipe products in the names

GCLEAN and/or GC200 were EPA-registered products on EPA’s “List N:

Disinfectants for Use Against SARS-CoV-2,” to persuade them to purchase the

unregistered pesticide products.

           d. It was further part of the scheme that ANDRECOLA, or others at

his behest, from the Companies facility in Mount Laurel, New Jersey, produced

and sold these unregistered pesticide products to more than 150 victims based

upon these false representations for a profit of approximately $2,741,833.90.

                                        7
   Case 1:22-cr-00397-RBK Document 1 Filed 06/08/22 Page 8 of 12 PageID: 8



These communications occurred with, and the products were shipped to,

victims located in more than 20 states throughout the country. The victims

who purchased these unregistered pesticides included a police department in

Delaware, a fire department in Virginia, a medical clinic in Georgia, a janitorial

supply company in New York, and a school district in Wisconsin.

           e. As an example of these communications, on or about August 13,

2020, ANDRECOLA, sent an email from New Jersey to a representative for

Victim-1, a company located in Las Vegas, Nevada and Orlando, Florida. This

email contained altered documents attached to the email, which falsely

indicated that “GClean GC200 Disinfectant Wipes” was a registered pesticide

with the EPA. As a result of this email and other communications falsely

representing that these GC200 Wipes were registered pesticides approved to

kill the COVID 19 virus, Victim-1 purchased more than $1,000,000 worth of

product that was in actuality not a registered pesticide with EPA, nor on EPA’s

“List N: Disinfectants for Use Against SARS-CoV-2.”

                           Execution of the Scheme

      8.     On or about August 13, 2020, in Burlington County, in the District

of New Jersey and elsewhere, the defendant,

                              PAUL ANDRECOLA,

having devised and intending to devise a scheme and artifice to defraud and for

obtaining money and property by means of materially false and fraudulent

pretenses, representations, and promises, did knowingly and intentionally

transmit and cause to be transmitted by means of wire communication in

interstate and foreign commerce for the purpose of executing such scheme and

                                        8
   Case 1:22-cr-00397-RBK Document 1 Filed 06/08/22 Page 9 of 12 PageID: 9



artifice certain writings, signs, signals, pictures, and sounds, namely, an email

with altered documents attached to the email, which falsely represented that

GClean GC200 Disinfectant Wipes was an EPA registered pesticide effective

against SARS-CoV-2.

      In violation of Title 18, United States Code, Sections 1343 and 2.




                                        9
  Case 1:22-cr-00397-RBK Document 1 Filed 06/08/22 Page 10 of 12 PageID: 10



                                 COUNT THREE
                     (False Claim Against the United States)

        9.    The allegations in paragraph 1 of this Information are re-alleged

here.

        10.   Between April 30, 2020 and September 29, 2020, in Burlington

County, in the District of New Jersey and elsewhere, the defendant,

                               PAUL ANDRECOLA,

did knowingly make and present, and cause to be made and presented—to the

United States Marshal Service, Moody United States Air Force Base, the United

States Veterans Affairs Department, and the Willamette National Forest

Service—false, fictitious, and fraudulent claims to the United States for

payment, in that he sold each a registered pesticide purportedly effective

against SARS-CoV-2, knowing such claim to be false, fictitious, and fraudulent

        In violation of Title 18, United States Code, Section 287 and Section 2.




                                         10
  Case 1:22-cr-00397-RBK Document 1 Filed 06/08/22 Page 11 of 12 PageID: 11



               FORFEITURE ALLEGATION AS TO COUNT TWO

    11.     The allegations in this Information are incorporated by reference as

though set forth in full herein for the purpose of alleging forfeiture pursuant to

Title 18, United States Code, Section 981 (a)(1)(C) and Title 28, United States

Code, Section 2461.

    12.     Upon conviction of the offense charged in Count Two of this

Information, the defendant,

                              PAUL ANDRECOLA,

shall forfeit to the United States, pursuant to Title 18, United States Code,

Section 981(a)(l)(C) and Title 28, United States Code, Section 2461(c), all

property, real and personal, the defendant obtained that constitutes or is

derived from proceeds traceable to the commission of the said offense, and all

property traceable thereto.

                         Substitute Assets Provision
                   (Applicable to All Forfeiture Allegations)

    13.     If any of the property described above, as a result of any act or

omission of the defendant:

      a.    cannot be located upon the exercise of due diligence;

      b.    has been transferred or sold to, or deposited with, a third party;

      c.    has been placed beyond the jurisdiction of the court;

      d.    has been substantially diminished in value; or

      e.    has been commingled with other property which cannot be divided

            without difficulty;




                                        11
 Case 1:22-cr-00397-RBK Document 1 Filed 06/08/22 Page 12 of 12 PageID: 12



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